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UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                        '
                                                '
                                                '
versus                                          '           NO. 1:17-CR-1-1-MAC
                                                '
                                                '
ISAAC MIRELES                                   '

                    ORDER ADOPTING THE MAGISTRATE JUDGE’S
                        REPORT AND RECOMMENDATION

         The Defendant, Isaac Mireles, filed a pro se Motion for Early Termination of Supervised

Release (#47). Pursuant to 28 U.S.C. § 636(b), the Local Rules for the United States District

Court for the Eastern District of Texas, and a specific referral order (#48) this motion was before

United States Magistrate Judge Christine L. Stetson.        Judge Stetson issued a report with

recommended findings of fact and conclusions of law (#49) stating that the Defendant’s motion

should be denied. To date, the parties have not filed objections to the report.

         The court received and considered the Report of the United States Magistrate Judge filed

 pursuant to such referral, along with the record, pleadings and all available evidence. After

 careful review, the court finds that the findings of fact and conclusions of law of the United

 States magistrate judge are correct. Accordingly, the Report and Recommendation of the

 magistrate judge is ADOPTED. The Defendant’s motion (#47) is DENIED.

           SIGNED at Beaumont, Texas, this 28th day of January, 2025.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
